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Label Matrix for local noticing                   ECAST Settlement Corporation               Ralph Regula U.S. Courthouse
0647-6                                            POB 29262                                  401 McKinley Avenue SW
Case 13-60059-rk                                  New York, NY 10087-9262                    Canton, OH 44702-1745
Northern District of Ohio
Canton
Tue Aug 26 12:00:50 EDT 2014
Apprisen                                          Aultman Hospital                           Bank of America
4500 E Broad St                                   PO Box 80868                               475 Cross Point Pky
Columbus OH 43213-1360                            Canton OH 44708-0868                       Box 9000
                                                                                             Getzville NY 14068-1609


Capital One NA                                    Cardiovascular Consultants                 Chase Bank One
c/o Becket and Lee LLP                            PO Box 80690                               PO Box 15153
POB 3001                                          Canton OH 44708-0690                       Wilmington DE 19886-5153
Malvern PA 19355-0701


Discover Bank                                     (p)DISCOVER FINANCIAL SERVICES LLC         Dover Phila Federal Cr
DB Servicing Corporation                          PO BOX 3025                                119 Fillmore
PO Box 3025                                       NEW ALBANY OH 43054-3025                   Dover OH 44622-2061
New Albany, OH 43054-3025


FIA CARD SERVICES, N.A.                           Fidelity Collections                       First National Bank of Dennison
4161 Piedmont Parkway                             220 E Main St                              105 Grant St
NC4 105 03 14                                     Alliance OH 44601-2423                     Dennison OH 44621-1247
Greensboro, NC 27410


Flagstar Bank                                     GEMB/JC Penny                              Green Tree Servicing LLC
5151 Corporate Dr                                 Attn: Bankruptcy                           PO BOX 0049
Troy MI 48098-2639                                PO Box 103104                              Palatine, IL 60055-0049
                                                  Roswell GA 30076-9104                      Telephone # 888-298-7785


(p)GREENTREE SERVICING LLC                        (p)INTERNAL REVENUE SERVICE                Kohls
BANKRUPTCY DEPARTMENT                             CENTRALIZED INSOLVENCY OPERATIONS          PO Box 2983
P O BOX 6154                                      PO BOX 7346                                Milwaukee WI 53201-2983
RAPID CITY SD 57709-6154                          PHILADELPHIA PA 19101-7346


(p)PORTFOLIO RECOVERY ASSOCIATES LLC              Quantum3 Group LLC as agent for            Sears/CBNA
PO BOX 41067                                      MOMA Funding LLC                           701 E 60th St N
NORFOLK VA 23541-1067                             PO Box 788                                 PO Box 6241
                                                  Kirkland, WA 98083-0788                    Sioux Falls SD 57117-6241


Team Recovery                                     Union Hospital                             WORLD’S FOREMOST BANK
3928 Clock Pointe Trail                           659 Boulevard                              CABELA’S CLUB VISA
Suite 101                                         Dover OH 44622-2077                        PO BOX 82609
Stow OH 44224-6964                                                                           LINCOLN, NE 68501-2609


Worlds Foremost Bank                              Carol Louise Wilson                        Glen Robert Wilson
4800 NW 1st St STE                                875 3rd Street, SE                         875 3rd Street, SE
Lincoln NE 68521-4463                             New Philadelphia, OH 44663-2311            New Philadelphia, OH 44663-2311



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